Case: 3:23-cv-00730-JRK Doc #: 1-4 Filed: 04/10/23 1o0f1. PagelD #: 24
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SHE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I], (a) PLAINTIFFS DEFENDANTS

Jody Johnson, Emily McKenzie, Shelby Skelton

JS 44 (Rev. 04/21)

Margaritaville Restaurant

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

NOTE:

Attorneys (/f Known)

Lewis Brisbois 1375 E. 9th Street, Suite 2250 Cleveland,

(c) Attorneys (/irm Name, Address, and Telephone Number)

The Friedmann Firm LLC, 3740 Ridge Mill Dr Hilliard,

 

 

 

 

 

 

 

 

 

 

OH 43026, (614) 610-9757. Rachel Sabo Friedmann & OH 44114 (216) 298-1261 David A. Campbell
Il. BASIS OF JURISDICTION (Place an “x” in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Pace an "x" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
LJ 1 U.S, Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State L] 1 OO 1 Incorporated or Principal Place oO 4 ja
of Business In This State
CL] 2 U.S. Government C4 Diversity Citizen of Another State CT] 2 OO 2 Incorporated and Principal Place oO 4 Js
Defendant (indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject ofa C] 3 OJ 3 Foreign Nation C] 6 [Je
Foreign Country
IV. NATURE OF SUIT (Pace an “x” in One Box Only) Click here for; Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
110 Insurance PERSONAL INJURY PERSONAL INJURY — [_]625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane Cc] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | ]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability CL) 367 Health Care/ INTELLECTUAL 400 State Reapportionment
[_] 150 Recovery of Overpayment |_] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent 430 Commerce
152 Recovery of Defaulted Liability Cc) 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
C] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
Cc] 160 Stockholders’ Suits H 355 Motor Vehicle ~ 371 Truth in Lending Act | 485 Telephone Consumer
C] 190 Other Contract Product Liability L] 380 Other Personal |_|720 Labor/Management SOCIAL SECURITY Protection Act
4 195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 4 490 Cable/Sat TV
196 Franchise Injury CO) 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 362 Personal Injury - Product Liability ei Family and Medical 863 DIWC/DIWW (403(g)) Exchange

Medical Malpractice

 

 

REAL PROPERTY CIVIL RIGHTS

Leave Act
|_]790 Other Labor Litigation

 

|_| 210 Land Condemnation
(c= 220 Foreclosure
o 230 Rent Lease & Ejectment

240 Torts to Land
[| 290 All Other Real Property

c
i

44) Voting
442 Employment
443 Housing/

245 Tort Product Liability Accommodations

 

Employment

Other
| 448 Education

 

440 Other Civil Rights

| 445 Amer. w/Disabilities -

|_| 446 Amer. w/Disabilities -

PRISONER PETITIONS
463 Alien Detainee
510 Motions to Vacate
| | 530 General
[_] $35 Death Penalty
540 Mandamus & Other
$50 Civil Rights
560 Civil Detainee -
Conditions of

Habeas Corpus:
A
Sentence
Other:
555 Prison Condition
Confinement

 

| |791 Employee Retirement
Income Security Act

IMMIGRATION

864 SSID Title XVI
[_] 865 RSI (405(g))

890 Other Statutory Actions
891 Agricultural Acts
893 Environmental Matters

LU

 

Ss

 

895 Freedom of Information

 

{| 870 Taxes (U.S. Plaintiff
or Defendant)

(| 871 IRS—Third Party
26 USC 7609

 

462 Naturalization Application
465 Other Immigration
Actions

 

 

Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

|_| 950 Constitutionality of

State Statutes

Lt |

 

 

¥. ORIGIN (Place an “X" in One Box Only)
[x] 1 Original Ce? Removed from
Proceeding State Court

Cy 3. Remanded from

Appellate Court

4 Reinstated or 5 Transferred from
U O Another District
(specify)

Reopened

Transfer

6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
42 U.S.C 2000e-2 Title Vil of the Civil Rights Act of 1964

Brief description of cause:

Sexual Harassment and Constructive Discharge

VI. CAUSE OF ACTION

 

 

 

 

   

    
  

VII REQUESTEDIN = (J) CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 500,000 JURY DEMAND: [x]Yes [JNo
VIII. RELATED CASE(S)
IF ANY (eee! UDGE DOCKET NUMBER
DATE SI NRIURE ef RNEY OF RECORD
4/10/23

{

wri IFP

 

FOR OFFICE USE ONLY

RECEIPT # AMOUNT JUDGE MAG, JUDGE
